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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:20−cr−00216
                                                        Honorable Matthew F. Kennelly
Seba, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 17, 2021:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Marcin
Ciborowski: Video sentencing hearing scheduled for August 20, 2021 at 2:30 p.m.
Members of the public and media will be able to call in to listen to this hearing. The
call−in number is (650) 479−3207 and the call−in ID is 1807201356##. Counsel of record
will receive an email invitation prior to the start of the video hearing with instructions to
join the video conference. Persons granted remote access to proceedings are reminded of
the general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice. (mma, )




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